                                Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 1 of 15



                      1    THORPE SHWER, P.C.
                           William L. Thorpe (Arizona Bar No. 005641), Pro Hac Vice motion to be filed
                      2    Adam T. Reich (Arizona Bar No. 028843), Pro Hac Vice motion to be filed
                           3200 North Central Avenue, Suite 1560
                      3    Phoenix, Arizona 85012-2441
                           Telephone: (602) 682-6100
                      4    Email: docket@thorpeshwer.com
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                      6
                           MESSNER REEVES LLP
                      7    Renee Finch (Nevada Bar No. 13118)
                           8945 West Russell Road, Suite 300
                      8    Las Vegas, Nevada 89148
                           Telephone: (702) 363-5100
                      9    Facsimile: (702) 363-5101
                           Email: rfinch@messner.com
                     10
                           Attorneys for Defendants
                     11
THORPE SHWER, P.C.




                     12                                  UNITED STATES DISTRICT COURT
                     13                                         DISTRICT OF NEVADA
                     14    DE’MARKUS ANTOINE WILLIAMS,                       CASE NO.:
                     15                           Plaintiff,
                                                                             DEFENDANTS’ NOTICE OF REMOVAL OF
                     16    v.                                                ACTION TO UNITED STATES DISTRICT
                                                                             COURT UNDER 28 USC § 1441(a)
                     17    BOBBY DEWAYNE HENDRIX, an
                           individual; J.B. HUNT TRANSPORT,
                     18    INC., a foreign corporation; DOES I
                           through X; and ROE CORPORATIONS I
                     19    through X, inclusive,
                     20                           Defendants.
                     21
                                    Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants Bobby Dewayne Hendrix (“Hendrix”)
                     22
                          and J.B. Hunt Transport, Inc. (“J.B. Hunt,” with Hendrix, the “Defendants”) hereby file this Notice
                     23
                          of Removal (the “Notice”). In support of its Notice, Defendants state as follows:
                     24
                                    1.      On June 25, 2018, Plaintiff commenced an action in the Eighth Judicial
                     25
                          District Court, Clark County, State of Nevada entitled De’Markus Antoine Williams v. Bobby
                     26
                          Dewayne Hendrix, et. al., bearing Case No. A-18-776635-C.
                     27

                     28
                           {02975450 / 1}

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                              Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 2 of 15



                      1             2.      Defendant J.B. Hunt was served with the Summons and Complaint on June 28, 2018

                      2   through its registered agent, CSC (Corporations Service Company). Defendant Hendrix accepted

                      3   service of the Complaint on July 18, 2018.

                      4             3.      This Notice is filed in the United States District Court for the District of Nevada within

                      5   the time allowed by law for removal of actions to federal court. See 28 U.S.C. 1446(b).

                      6             4.      The United States District Court for the District of Nevada is the district and division

                      7   embracing the place where the state court action is pending. See 28 U.S.C. § 1441(a).

                      8             5.      A copy of this Notice will be promptly served on counsel for Plaintiff and filed with

                      9   the Clerk of the Eighth Judicial District Court, Clark County, State of Nevada. See 28 U.S.C.

                     10   § 1446(d).

                     11             6.      Undersigned counsel verifies that the documents attached hereto as Exhibit “A” are
THORPE SHWER, P.C.




                     12   true and complete copies of all pleadings and other documents filed in the state court proceeding.

                     13   These pleadings include the Summons(es), Complaint, and Initial Appearance Fee Disclosure. See 28

                     14   U.S.C. § 1446(a).

                     15             7.      There are no pending motions in the state court proceeding.

                     16             8.      This action may be removed under 28 U.S.C. § 1441(a) because this Court has original

                     17   jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1). There is complete diversity between

                     18   the parties and the amount in controversy exceeds $75,000.

                     19             9.      Defendant J.B. Hunt is a Georgia corporation, with its principal place of business in

                     20   Lowell, Arkansas. As such, J.B. Hunt is a citizen and/or resident of the states of Georgia and

                     21   Arkansas. J.B. Hunt is not a citizen and/or resident of Nevada.

                     22             10.     Upon information and belief, Defendant Hendrix is a citizen and resident of San

                     23   Bernardino County, California.

                     24             11.     Upon information and belief, Plaintiff is a citizen and resident of Clark County,

                     25   Nevada. Exhibit A, Complaint at ¶ 1.

                     26             12.     Plaintiff does not demand a specific amount of damages in his Complaint. However,

                     27   Plaintiff alleges that his damages exceed $50,000. See Complaint at pg. 1. Plaintiff is seeking damages

                     28   for medical expenses which, based upon pre-litigation representations, exceed $56,000. Additionally,
                           {02975450 / 1}
                                                                            2
                          9004293
                              Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 3 of 15



                      1   Plaintiff is seeking damages for “loss of earning capacity, lost wages, physical impairment, mental

                      2   anguish, and loss of enjoyment of life, in a presently unascertainable amount.” Id. at ¶12. Given these

                      3   allegations, the amount in controversy in this matter exceed $75,000.

                      4             WHEREFORE, Defendants respectfully request that this action proceed in this Court as an

                      5   action properly removed to it.

                      6             DATED this 18th day of July, 2018.

                      7                                                      THORPE SHWER, P.C.
                      8
                                                                             By /s/ William L. Thorpe
                      9                                                         William L. Thorpe
                                                                                Adam T. Reich
                     10

                     11                                                      AND
                                                                             MESSNER AND REEVES LLP
THORPE SHWER, P.C.




                     12

                     13                                                      By /s/ Renee Finch
                                                                                Renee Finch
                     14
                                                                                Attorneys for Defendants
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                              Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 4 of 15



                      1                                      CERTIFICATE OF SERVICE

                      2
                                    I hereby certify that I am an employee of MESSNER REEVES LLP, and that on this 18th day
                      3
                          of July, 2018, I served and filed a true and correct copy of the foregoing DEFENDANTS’ NOTICE
                      4
                          OF REMOVAL OF ACTION TO UNITED STATES DISTRICT COURT UNDER 28 USC §
                      5   1441(a) to all parties by the Court’s electronic service system.
                      6
                                Joseph A. Gutierrez, Esq.
                      7         Steven G. Knauss, Esq.
                                MAIER GUTIERREZ & ASSOCIATES
                      8         8816 Spanish Ridge Avenue
                                Las Vegas, Nevada 89148
                      9         Attorneys for Plaintiff

                     10
                                                                                /s/ Bonnie O’Laughlin
                     11                                                         An Employee of MESSNER REEVES LLP
THORPE SHWER, P.C.




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Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 5 of 15




             EXHIBIT A




             EXHIBIT A
     Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page  6 of 15
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                                                                               Steven D. Grierson
                                                                               CLERK OF THE COURT
 1   COMJD
     JOSEPH A. GUTIERREZ, ESQ.
 2   Nevada Bar No. 9046
     STEVEN G. KNAUSS, ESQ.
 3   Nevada Bar No. 12242
     MAIER GUTIERREZ & ASSOCIATES
 4   8816 Spanish Ridge Avenue
     Las Vegas, Nevada 89148
 5   Telephone: (702) 629-7900
     Facsimile: (702) 629-7925
 6   E-mail:    jag@mgalaw.com
                sgk@mgalaw.com
 7
     Attorneys for Plaintiff De’Markus Antoine Williams
 8

 9
                                              DISTRICT COURT
10
                                        CLARK COUNTY, NEVADA
11

12    DE’MARKUS ANTOINE WILLIAMS, an                          Case No.: A-18-776635-C
      individual,                                             Dept. No.: Department 13
13
                                Plaintiff,                    COMPLAINT
14
      vs.                                                     DEMAND FOR JURY TRIAL
15
      BOBBY DEWAYNE HENDRIX, an individual; Arbitration Exemption:
16    J.B. HUNT TRANSPORT, INC., a foreign     1. Damages in Excess of $50,000
      corporation; DOES I through X; and ROE
17    CORPORATIONS I through X, inclusive,
18                             Defendants.
19

20          Plaintiff DE’MARKUS ANTOINE WILLIAMS, by and through his attorneys of record, the
21   law firm MAIER GUTIERREZ & ASSOCIATES, hereby demands a trial by jury and complains and alleges
22   against defendants as follows:
23                                       GENERAL ALLEGATIONS
24          1.     Plaintiff DE’MARKUS ANTOINE WILLIAMS is, and at all times pertinent hereto
25   was, a resident of Clark County, Nevada.
26          2.     Upon information and belief, defendant BOBBY DEWAYNE HENDRIX is, and at all
27   times pertinent hereto was, a resident of San Bernardino County, California.
28          3.     Upon information and belief, defendant J.B. HUNT TRANSPORT, INC., is, and at all


                                                          1

                                      Case Number: A-18-776635-C
     Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 7 of 15



 1   times pertinent hereto was, a foreign limited-liability company licensed to conduct business in Clark

 2   County, Nevada.

 3          4.      The true names and capacities, whether individual, corporate, associate, partnership or

 4   otherwise, of the defendants herein designated as DOES I through X and ROE CORPORATIONS I

 5   through X, inclusive, are unknown to plaintiff, who therefore sues said defendants by such fictitious

 6   names. Plaintiff will seek leave of the Court to insert the true names and capacities of such defendants

 7   when the same have been ascertained and will further seek leave to join said defendants in these

 8   proceedings.

 9          5.      That all times pertinent hereto, defendants were agents, servants, employees or joint

10   ventures of every other defendant herein, and at all times mentioned herein were acting within in the

11   scope and course of said agency, employment, or joint venture, with knowledge and permission and

12   consent of all other named defendants.

13          6.      Plaintiff DE’MARKUS ANTOINE WILLIAMS is, and at all times mentioned herein

14   was the operator of a 2011 Hyundai Sonata.

15          7.      Defendant J.B. HUNT TRANSPORT, INC., is, and at all times mentioned herein was

16   the owner of a 2016 FRTL Semi-tractor.

17          8.      Defendant BOBBY DEWAYNE HENDRIX was acting in the course and scope of his

18   employment with J.B. HUNT TRANSPORT, INC., at the time of the collision when he was operating

19   the 2016 FRTL Semi-tractor.

20          9.      On or about November 22, 2016, in Clark County, Nevada, defendant BOBBY

21   DEWAYNE HENDRIX failed to use due care on the roadway, and struck the vehicle of plaintiff

22   DE’MARKUS ANTOINE WILLIAMS.

23          10.     As a direct and proximate result of the negligence of defendants, and each of them,

24   plaintiff sustained personal injuries, all or some of which conditions may be permanent and disabling,

25   and all to plaintiff’s damage in a sum in excess of $15,000.00.

26          11.     As a direct and proximate result of the negligence of defendants, and each of them,

27   plaintiff received medical and other treatment for the aforementioned injuries, and that said services,

28   care, and treatment is continuing and shall continue in the future, all to the damage of plaintiff.


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     Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 8 of 15



 1          12.     As a direct and proximate result of the negligence of defendants, and each of them,

 2   plaintiff has been required to, and has limited occupational and recreational activities, which have

 3   caused and shall continue to cause plaintiff loss of earning capacity, lost wages, physical impairment,

 4   mental anguish, and loss of enjoyment of life, in a presently unascertainable amount.

 5          13.     As a direct and proximate result of the aforementioned negligence of defendants, and

 6   each of them, plaintiff has been required to engage the services of an attorney, incurring attorney’s

 7   fees and costs to bring this action.

 8                                          FIRST CLAIM FOR RELIEF
 9                                               (NEGLIGENCE)
10          14.     Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

11   complaint as though fully set forth herein, and incorporate the same herein by reference.

12          15.     Defendants, and each of them, owed a duty of care to plaintiff to operate a vehicle in a

13   reasonable and safe manner.

14          16.     Defendants, and each of them, breached that duty of care by striking plaintiff’s vehicle

15   on the roadway.

16          17.     As a direct and proximate result of the negligence of defendants, and each of them,

17   plaintiff sustained personal injuries, all or some of which conditions may be permanent and disabling,

18   and all to plaintiff’s damage in a sum in excess of $15,000.00.

19          18.     As a direct and proximate result of the negligence of defendants, and each of them,

20   plaintiff received medical and other treatment for the aforementioned injuries, and that said services,

21   care, and treatment is continuing and shall continue in the future, all to the damage of plaintiff.

22          19.     As a direct and proximate result of the negligence of defendants, plaintiff has incurred

23   property damage to her vehicle and damages for loss of use.

24          20.     As a direct and proximate result of the negligence of defendants, and each of them,

25   plaintiff has been required to, and has limited occupational and recreational activities, which have

26   caused and shall continue to cause plaintiff loss of earning capacity, lost wages, physical impairment,

27   mental anguish, and loss of enjoyment of life, in a presently unascertainable amount.

28          21.     As a direct and proximate result of the aforementioned negligence of defendants, and


                                                         3
     Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 9 of 15



 1   each of them, plaintiff has been required to engage the services of an attorney, incurring attorney’s

 2   fees and costs to bring this action.

 3                                        SECOND CLAIM FOR RELIEF
 4                                     (Negligent Training and Supervision)
 5           22.        Plaintiff incorporates by reference each and every allegation previously made in this

 6   Complaint, as if here fully set forth.

 7           23.        Defendants, and each of them, owed a duty of care to plaintiff to operate a vehicle in a

 8   reasonable and safe manner.

 9           24.        Defendant J.B. HUNT TRANSPORT, INC., breached that duty by hiring an

10   employee(s) even though it knew, or should have known, of that employee’s dangerous propensities

11   and propensity not to follow basic instructions or directions.

12           25.        In the alternative, defendant J.B. HUNT TRANSPORT, INC., breached its duty by

13   failing to properly supervise and train that/those employee(s).

14           26.        The breach of defendant J.B. HUNT TRANSPORT, INC., was the legal cause of

15   plaintiff’s injuries.

16           27.        As a direct and proximate result of the negligence of defendants, and each of them,

17   plaintiff sustained personal injuries, all or some of which conditions may be permanent and disabling,

18   and all to plaintiff’s damage in a sum in excess of $15,000.00.

19           28.        As a direct and proximate result of the negligence of defendants, and each of them,

20   plaintiff has been required to, and has limited occupational and recreational activities, which have

21   caused and shall continue to cause plaintiff loss of earning capacity, lost wages, physical impairment,

22   mental anguish, and loss of enjoyment of life, in a presently unascertainable amount.

23           29.        As a further direct and proximate result, plaintiff incurred expenses for medical care

24   and treatment and will incur expenses for medical care and treatment in the future in an amount to be

25   proven at trial.

26           30.        That plaintiff has been required to engage the services of an attorney, incurring

27   attorney’s fees and costs to bring this action.

28   ///


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 1                                         PRAYER FOR RELIEF
 2           WHEREFORE, plaintiff prays for judgment against defendants, and each of them, as follows:

 3           1.      For a judgment in favor of plaintiff and against defendants, and each of them, on the

 4   complaint and all claims for relief asserted therein;

 5           2.      For an award of general and special damages in an amount in excess of $15,000.00, to

 6   be proven at trial;

 7           3.      For an award of reasonable attorney’s fees and costs incurred in this action; and

 8           4.      For such other and further relief as the Court may deem proper.

 9           DATED this 21st day of June, 2018.

10                                                      Respectfully submitted,

11                                                      MAIER GUTIERREZ & ASSOCIATES
12
                                                        _/s/ Joseph A. Gutierrez______________
13                                                      JOSEPH A. GUTIERREZ, ESQ.
                                                        Nevada Bar No. 9046
14                                                      STEVEN G. KNAUSS, ESQ.
                                                        Nevada Bar No. 12242
15                                                      8816 Spanish Ridge Avenue
                                                        Las Vegas, Nevada 89148
16                                                      Attorneys for Plaintiff De’Markus Antoine
                                                        Williams
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                                                                        Steven D. Grierson
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                                                               Department 13




                             Case Number: A-18-776635-C
Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 12 of 15




            STEVEN D. GRIERSON
            CLERK OF THE COURT
                                                              6/25/2018



                                                             Joshua Raak
Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 13 of 15
     Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page  14 of 15
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                                                                             Steven D. Grierson
                                                                             CLERK OF THE COURT
 1   IAFD
     JOSEPH A. GUTIERREZ, ESQ.
 2   Nevada Bar No. 9046
     STEVEN G. KNAUSS, ESQ.
 3   Nevada Bar No. 12242
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 6   E-mail:    jag@mgalaw.com
                sgk@mgalaw.com
 7
     Attorneys for Plaintiff De’Markus Antoine Williams
 8

 9
                                              DISTRICT COURT
10
                                       CLARK COUNTY, NEVADA
11

12    DE’MARKUS ANTOINE WILLIAMS, an                         Case No.: A-18-776635-C
      individual,                                            Dept. No.: Department 13
13
                                Plaintiff,                   INITIAL APPEARANCE FEE
14                                                           DISCLOSURE (NRS CHAPTER 19)
      vs.
15
      BOBBY DEWAYNE HENDRIX, an individual;
16    J.B. HUNT TRANSPORT, INC., a foreign
      corporation; DOES I through X; and ROE
17    CORPORATIONS I through X, inclusive,
18                              Defendants.
19
            Pursuant to NRS Chapter 19, as amended by Senate Bill 106, filing fees are submitted for
20
     parties appearing in the above-entitled action as indicated below:
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                                     Case Number: A-18-776635-C
     Case 2:18-cv-01315-MMD-PAL Document 1 Filed 07/18/18 Page 15 of 15



 1        DE’MARKUS ANTOINE WILLIAMS               $270.00

 2        TOTAL:                                   $270.00
 3        DATED this 21st day of June, 2018.

 4                                             Respectfully submitted,

 5                                             MAIER GUTIERREZ & ASSOCIATES
 6
                                               _/s/ Joseph A. Gutierrez______________
 7                                             JOSEPH A. GUTIERREZ, ESQ.
                                               Nevada Bar No. 9046
 8                                             STEVEN G. KNAUSS, ESQ.
                                               Nevada Bar No. 12242
 9                                             8816 Spanish Ridge Avenue
                                               Las Vegas, Nevada 89148
10                                             Attorneys for Plaintiff De’Markus Antoine
                                               Williams
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